         Case 1:19-cv-06835-GBD Document 1 Filed 07/23/19 Page 1 of 2




                                                   1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------X

UNITED STATES OF AMERICA,                                       COMPLAINT

                            Plaintiff,                          Civil Action No.
                                                                CV-
              - against -

B H & B CONSTRUCTION INC.

                   Defendant.

----------------------------X

              The United States of America alleges that:

              FIRST:             Jurisdiction is conferred upon this Court pursuant to Title 28, United

States Code, Section 1345.

              SECOND:            On information and belief, the Defendant is a New York corporation

and has offices within the Southern District of New York at 1432 Bruckner Boulevard, Bronx, NY

10472.

               THIRD:          This lawsuit is filed for a sum certain due the Plaintiff.

              FOURTH:            The Defendant owes the United States the sum of $16,743.40 for

civil penalties issued by the U.S. Department of Labor, Occupational Safety and Health

Administration (OSHA) for failure to comply with workplace safety and health standards under

the Occupational Safety and Health Act of 1970 (29 U.S.C. 650/651 et seq) and regulations 29

C.F.R. 1926, as itemized in the Certificate of Indebtedness, incorporated herein by reference,

annexed hereto as Exhibit A.

              FIFTH: This claim arises from OSHA inspection # 914516, conducted 6/26/2013
            Case 1:19-cv-06835-GBD Document 1 Filed 07/23/19 Page 2 of 2




                                                   2


– 7/3/2013 at the Defendant’s work-site located at 1431 Bruckner Boulevard, Bronx, NY 10471.

A copy of the Citation and Notification of Penalty is attached as Exhibit B.

               SIXTH:         No part of the aforesaid sum has been paid, although demanded.



               WHEREFORE, the United States demands judgment against defendant as

follows:

       1.      For the sum of $16,743.40 plus interest at the rate of 1% per annum ($0.51 daily)

       as well as a penalty at the rate of 6% per annum ($3.09 daily) as itemized in the

       Certificated of Indebtedness;

       2.      Post-judgment interest, pursuant to 28 U.S.C. ' 1961 at the legal rate then in

       effect, from the date of entry of judgment until the judgment is paid in full;

       3.      Administrative costs of suit; and

       4.      Such other relief as this Court may deem just and proper.



Dated: New York, New York
       July 23, 2019

                      Respectfully submitted,

                                       BY: /s/ John S. Manfredi
                                       John S. Manfredi
                                       ATTORNEY FOR THE UNITED STATES OF
                                       AMERICA
                                       Manfredi Law Group, PLLC
                                       302 East 19th St. Suite 2A
                                       New York, New York 10003
                                       PH: 347 614 7006
                                       Fax 347 332 1740
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                        Exhibit A
            Case 1:19-cv-06835-GBD Document 1-1 Filed 07/23/19 Page 2 of 2

                             U.S. DEPARTMENT OF THE TREASURY
                               BUREAU OF THE FISCAL SERVICE
                                   WASHINGTON, D.C. 20227

                            ACTING ON BEHALF OF
       U.S. Department of Labor, Occupational Safety & Health Administration
                      CERTIFICATE OF INDEBTEDNESS

Debtor Name(s) and Address(es):

B H & B Construction Inc.
1431 Bruckner Boulevard
Bronx, NY 10472

RE: Treasury Claim TRFM1500093602

I certify that the U.S. Department of Labor, Occupational Safety & Health Administration (OSHA)
records show that the debtor named above is indebted to the United States in the amount stated as
follows:
                                          Principal:                 $ 9,200.00
                        Interest through 07/23/19*:                  $ 447.12
                     Penalty fee through 07/23/19*:                  $ 2,636.74
                                         Admin fee:                  $    20.00
                                         DMS fees:                   $ 3,937.24
                                          DOJ fees:                  $ 502.30

(pursuant to 31 U.S.C. 3717(e) and 3711(g)(6), (7); 31 C.F.R. 285.12(j) and 31 C.F.R. 901.1(f); and 28 U.S.C. 527, note)


               TOTAL debt owed as of 07/23/19:                       $16,743.40

*NOTE: Per the creditor agency, once the debt is referred to Fiscal Service, interest continues to accrue at
the rate of 1% per annum ($0.51 daily) as well as a penalty at the rate of 6% per annum ($3.09 daily).

This debt arose in connection with the numerous workplace safety violations of the
Occupational Safety and Health Act of 1970 (29 U.S.C. 650/651 et seq.) and OSHA regulations (29
C.F.R. 1926), as noted during the June - July 2013 OSHA inspections of the debtor’s work site located at
1431 Bruckner Blvd, Bronx, NY 10471.

CERTIFICATION: Pursuant to 28 USC ss. 1746, I certify under penalty of perjury that the foregoing
is true and correct to the best of my knowledge and belief based upon information provided by the U.S.
Department of Labor, Occupational Safety & Health Administration.


                                                                       X
                                                                       Ju ly 23, 2019

                                                                       Sign ed by: Ash leigh N. Edmon ds

                                                                     Ashleigh Edmonds
                                                                     Financial Program Specialist
                                                                     U.S. Department of the Treasury
                                                                     Bureau of the Fiscal Service
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                      Exhibit B
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  U.S. .Department of Labor
  Occupational Safety and Health Administration
  660 White plains Rd
  4th Flc,or
  Tarrytown, NY i0591
  Phone: 91 4-524-7 510 Fax: gt4-524-7 5 I s




                                   Citation and Notification of penalty

 To:                                                             Inspection Number: 9145 l6
 B H & B Construction, lnc.                                      Inspection Date(s): 06126/2013 - 07/03/2013
 l43l Bruckner Blvd                                              Issuance Date: 07/l l/2013
 Bronx, NY 10471


 Inspection Site:
 1431 Bruckner BIvd.
 Bronx, l{Y 10471




This citation and Notification of PenalS, (this citation) describes violations of
                                                                                    the occupational Safety and
Health Act of I970. The penalty(ies) Iisted herein is (aie) based on these
                                                                            violations. you must abate the
violations refered to in this citation by the dates t;steo ana pay the penatties proposed,
                                                                                            unless within l5 working
days (excluding weekends and Federal holidays) from your .eceipt of
                                                                         tnfu Citation and Notification of renalty        '
you either call to schedule an informal conference
                                                     lsee paragraph below) or you mail a notice of contest to
the U'S' Department of l,abor Area office at the addres. rt o*riuuove. please
                                                                              refer to the      enclosed booklet
(OSHA 3000) which outlines your rights and responsibilities and which
                                                                              should be read in conjunction with this
form' Issuance of this Citation does not constituti a finding that a violation of the
                                                                                        Act has occurred unless there
is a failure to contest as provided for in the Act or, if conteited, unless
                                                                            this Citation is affirmed by the Review
Commission or a court.

Posting - The law requires that a copy of this Citation and Notification of penalty be posted immediately
                                                                                                                   in a
prominent place at or near the location of the violation(s) cited herein, or, if
                                                                                 it is not practicable because of the
nature of the employer's operations, where it will be readily observabL by ail affected
                                                                                             employees. This Citation
must remain posted until the violation(s) cited herein has (irave) been abated, or for 3 *orling
                                                                                                      days (excluding
weekends and Federal holidays), whichever is longer.


Informal Conference - An informal conference is not required. However, if you wish to haye such a
conference you may request one with the Area Director during the l5 working duy .ort"rt period.
                                                                                                 During such
an informal conference you may present any evidence or views which you Ueiieve would support
                                                                                                an adju-stment


Citation and Notiflcation ol Penalty                    Page   I of   12                               OSHA"]
                Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 3 of 13




to the citation(s) and/or penalty(ies).


If
     yg:   *:
          considering a request for an informal conlerence to discuss any issues related to this
                                                                                                  Citation and
Notification of Penalty, you must take care to schedule it early enough tl allow tirne to contest after the informal
conference, should you decide to do so, Please keep in mind that o *iitt"n letter
                                                                                  of intent to contest must be
submitted to the Area Director within l5 working days of your receipt of this Citation.
                                                                                         The running of this
contest period is not interlupted by an informal conference.

If You decide to request an informal conference, please complete remove and post the Notice
                                                                    ,                              to Employees next
to this Citation and Notification of Penalry as soon as the time, date, and place of the informal
                                                                                                    conference have
been deterrnined, [Je sure to bring to the conference any and all supporting documentation
                                                                                                of existing conditions
as rvelI as al]y abatement steps taken thus far. If conditions *u.runt,'ru. can
                                                                                enter into an informal settleme*t
agreement which amicably resolves this rnatter rvithout litigation or contest.


Right to Contest       - You have the right to contest this Citation and Notification of penalty. you may coltest
all citation items or onty individual iterns. You may also contest proposed penalties and/or abatement
                                                                                                        dates
rvithout contesting the underlying violations.
                                                !                    the Area Director i[writing that you i


Commission and mav not be reviewed by anv          cou( or agencv.
P-enalty Payment Penalties are due within l5 working days of receipt of this notification unless contested,
                              -
(See the enclosed booklet and the additional infbrrnation piovided related
                                                                           to the Debt Collection Acr of 19g2.)
Make your check or money order payable to "DOI--OSHA". Please indicate the Inspection Number
                                                                                             on thc
remittance.

OSFIA does not agree to any restrictions or conditions or endorsements put on any check or money
                                                                                                        order for less
than the lull amount due, and lvill cash the check or money order as if tliese restrictions, conditions,
                                                                                                         or
endorsements do not exist.


Notification of Corrective Actioh - For each violation which you do not contest, you musr provide
obatemeut certi/ication to the Area Director of the OSI IA office issuirrg the citation and identified
                                                                                                       above. T6is
abatement certification is to be provided by letter within l0 calendar days after each abatement
                                                                                                    date. Abatement
certification includes the date and method of abatement. If the citation indicates that the violation was
                                                                                                           corrected
during the inspection, no abatement certification is required for that item. The abatement certification letter
                                                                                                                 must
be posted at the location where the violation appeared and thc corrective action took place or employees
                                                                                                             must
otherwise be effectively informed about abatement activities. A sample abatement certification lltter is enclosed
with this Citation. In addition, where the citation inclicates that ohilemenl tlocamentotion isnecessary, evidence
of the purchase or repair.of equipment, photographs or video, receipts, training records, etc., verifoingthat
abatement has occurred is required to be provided to the Area Director,


Employer Discrimination Unlawful * The law prohibits discrimination by an employer against an
employee for filing a complaint or for exercising any rights under this Act. An ernployee who believes that
he/she has been discriminated against nray file a cornplaint no later than 30 days aftei the discrimination
occurred with the U.S. Department of Labor Area Office at the address shown above.

Employer Rights and Responsibilities - The enclosed booklet (OSHA 3000) outtines additional
employer rights and responsibilities and should be read in conjunction with this notification.




Oitation and Notitication of Pcnaltv                   I'age 2   ol   12                             osllA-2
                  Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 4 of 13




 Notice to Employees - f'he law gives an employee or his/her representative the
                                                                                     opporturriry to object to any
 abatement date set for a violation
                                 if he/she believes ih",lut" to be unreasonable.l'he contest must be mailed to
 the U'S' Depaftment of Labor Area office at the address shorvn above
                                                                       and postrnarked within l5 rvorking days
(excluding rveek'ends and F'ederal holidays) of the receipt by the
                                                                   employ". of   tl',i5,   Citation anclNotification of
Penalry.


Inspectio.n.Activity Data - You should be aware that os[{A publishes information
                                                                                            on its inspection and
citation activity on the Intemet under the provisions of the Electronic Freedorn
                                                                                  of Inforrnatio. Act. The
information related to these alleged violatlons will be posted rvhen our system
                                                                                 indicates that you have received
this citation' You are encouragcd to review the information concerning your
                                                                               establishrnent at wwlv.osha.gov. If
you have anv dispute with the accuracy of the information disptayed,
                                                                        liease contact this ofiice.




Citrtion   and I!01ificaiior,l of Pcnalry            l'agc 3   of   12                                   OSIL\-2
               Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 5 of 13




 U.S. Departnrent of              Labor
 Occupational        S   afery and Hea lth Adm in istration




               NOTICE TO EMI'LOYI]ES OF INFORMAL CONFERENCE


An inibrmal conference has been scheduled ivith OSHA to discuss the citation(s) issued
                                                                                       on

07llll20l3.          The conference r,villbe held by telephone or at the OSHA o1fice l6cated
                                                                                             at 660

White Plains lld, 4th Irloor, Tanrytown, }t,ly 10591 on


                                        Employees and/or representatives of employees have a right to attend an

infbrmal conft:rence.




Citation anrl Notificarion of Penalrv                         Page 4   of l2                      OSILA-2
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                                     CI,RTIFICAT'ION OF CORRECTIVE ACTION WORKSHtrBT

                                                                                                       Inspectirrn Number: 9l 45l6
 Company Narne: B H & B Construction, Inc.
 Inspection Site: 1431 Brucknerlllvd., Bronx.            Ny   10471
 Issuance Date: 07ll 112013

List the specific method of coffection for each item on this citation in this package
                                                                                      that does not read ,,Corrected
During Inspecticrtt" and return to: U,!i. Dcpartment of Labor * Occupational Safety
                                                                                          and Health
Administration, 660 white plains Rrt, 4th Floor,'farrytorvn, Ny 10s91

Citation Number and Item                     Number          was corrected on
By (Method of A,barement):


Citation Number and ltern                    Number         was corrected on
By (Method ofA,batement): _


Citation Number _ and Item                   Nurnber        was corrected on
Ily (Method of A batemcnr):


Citation Number and ltcm                     Nurnber        was corrected on
By (Method of Abatement):


Citation Number and Item Nurnber                            was corrected on
By (Method of Abatemenr):--


Citation Number - and Item                   Nurnber        was corrected on
By (Method of Ab.arement):


I certifi that the infonnation containe,C in this document is accurate and that the affected employees
                                                                                                       and their
representatives have been informed o1 the abaternent.


Signature                                                            Date

Typed or Printed Name                                                f irle

NoTE: 29 USC 666(9) whoever knowingly makcs any false statements, representation or certilication in any application,
                                                                                                                          record, plan or
other documents filed or required to be maintained pursuant to thc Act shall, upon conviction, be punishe6 fy
                                                                                                              u nn. ofnot more than
$ I0,000 or by impris,cnment of not more than 6 months or both.

POSTING: A copy c,f complcted Correctivc A.ction \Vorksheet shoutd be posted for employec rcvicw




Citrlion and Notitlcation   o1'   I)enalry                      Page 5 ol'12                                          osilA-2
                Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 7 of 13




   U.S. Department of Labor                                              fnspection Number: gl 45I 6
   Occupational Salbfy and Health Adrninistration Inspection Date(s):
                                                                      O6t26l2Ot3 - 07/03/2tlt3
                                                                         fssuance Date: 07i l          ll20l3

  Citation and l\otification of penglfy

  Company Name: B I-l & B Construction, Inc.
  Insne;tio1sit.:llr               1 Bruckner Btvd., r3ronx,           Ny    10471



  Citation       I   Itern    I     Type of Viotation:         Seri0us
 29 cFR l9l0' 132(d)(1)(i): The employer
                                            did not select and have eachaflectecl empl.yee
 of PPE that will protect the affectei employee from                                           use the rypes
                                                       the hazards identified in the haza.rd assessment:


 On or about 6/26/2A13,                 l43l   Bruckner Blvd.

 a) The employees did not utilize p,ersonal protective
                                                       equipment to protect them trom lhe various
 hazards which they were .*por.j.

ABATEMENT CERTIFICATIoN; The employer
                                                 is required to submit ce(ification of abatement for
this item
NOTE: Failure to comply will result in an additionalpenalty
                                                              of $1,000.00 as per 2g cFR 1g03.lg

Date By Which Violation   Must be
                  'sLrvrr lvruJL .,v nu'lL'(r'
                                     Abated:
proposed penaltyi                                                                                                                           081a612013
                                                                                                                                                $2000.00




See pagcs   I through 4 of this citation anrl Notificatjon of Penalty l'or infi:rmation
                                                                                        on employer anrl employec rights and rcsponsibilitics
Citatron ancl Notilication of pcnalrr
                                                                          l)age (r   of l2                                               osllA-2
                  Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 8 of 13




    U.S. Department of Labor                                               Inspcction Nurnber: 9145 l6
    Occupational Safety and Health Administration                          Inspection Date(s): 06/2612013 _ 07/0312013
                                                                           Issuance Date: 07ll l/2013



  Citation and Notification of pergg!fi

  Company Name: B H & B Construction, Inc.
                               *     , Bruckncr Btvd,, Bronx, Ny               1047r
  :r:1..,a:"u..
  Citation         I   Item    2        type otViotation:        Serious
 29 cFR 191 0' 176(b): secure storage. Storage
                                                    of material shall not create a hazard. Bags, containers,
 bundles' etc', stored in tiers shall lie stactea,
                                                   blocked, interlocked and limited in height
 stable and secure against sliding or collapse:                                                so that they are


 On or about 612612013, Garage St,orage

 a) The equipment on the shelves v/as
                                      not securely stored.

 ABATEMENT CERTIFICATIoN: Because abatement
                                                         of this violation is already documented in the
 inspection file' the employer does not need
                                             to submit certification or documentation
 this violation as normally required by 29                                              of abatement for
                                           CFR 1903.19

 Date By Which Violation Must be Abared:
                                                                                                              Corrected During Inspection
 Proposed Penalty:
                                                                                                                                $1200.00




sec pagcs   I   rhrough 4 ofthis citation and NotiflcatiOn ol'Pcnalty
                                                                      ft)r information on cmploy.cr and cnlploysc rights and
                                                                                                                             responsibilitics
Cllta(ion and Notrllcation ol'Penalrv
                                                                           I'agc 7 of   12
                                                                                                                                         osilA-2
                Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 9 of 13




    U.S. Department of Labor                                              Inspection Number: gl45t6
    Occupational Safety and Health Administration                         Inspection Date(s): 06t26t2013                  -   0710312013
                                                                          Issuance Date: 07/l l/2013



  Citation and Notification of penalfv

  Company Name: B H & B Construction,
                                              Inc,
  lnspection Site: l43l Bruckner BIvrJ., Bronx,
                                                                        Ny    10471



  Citation       I   Itern   3         Type of Violation:       SefiOuS
 29 cFR 1910'176(c): H^ousekeeping. storage
                                                 areas shall be kept free from accumulation
 that constitute hazards from trippin[,                                                     of materials
                                        fi.", &plosion, o. p"rtt iruorage. Vegetation control will
 exercised when necessary:                                                                         be



 On or about6126120l3, GarageArea

 a) There was equipment on the floor causing
                                             a tripping hazard,.

 AB"\TElvlENT cERTIFICATION: IJecause
                                              abatement of this violation is already documented
 inspection file' the employer does not need                                                     in the
                                             to submit certification or clocumentation of abatement
 this violation as normally required by 29                                                           for
                                           CFR                            1903.19

 Date By Which Violation Must be Abated:
 proposed penalty:                                                                                             Corrected u
                                                                                                               vvr^vvlvu During Inspection
                                                                                                                                 s1200.00




See pagcs   I through 4 ofthis citation and Notitlcation of ['enalty ftrr
                                                                          infbrmation   on enrplol,er and cmployce rights and rcsponsibilities.
Citatinn and r-otrlication of punahv
                                                                          I'age 8 ol'   l?                                                 0St Ir\-2
                 Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 10 of 13




    U.S. Department of Labor                                                Inspection Number:               gl45l6
    Occupational Safety and Health Administration                          lnspection Date(s): 06/2612013                - Otn3D0t3
                                                                           lssuance Datet         01 I I I   /20   13




   Citation and Notification of penqlfv

  Company Name: B I,l & B Construction,
                                              Inc.
  Inlnection Site: 143 I Bruckne r Blvd., Bronx,
                                                 Ny                             I   0471



  Citation         I   Item     4        Type of Viotation:      S€rious
  29 cFR I 910' t 78(l)( I
                           )(ii): Prior to permitting an e mployee to operate a powered industrial
  (except for training purposes), the                                                               truck
                                          employer shall        thal ea;h op.ruio, t u. ,r...rrfully cornpleted
  the training rcquircd by this pu.ugruph                "nrur.
                                              (ri except as permitted by paragraph                                       (l)(5):
 On or about 612612A8, ]tr,31 Bruckner
                                       Blvd.

                                opcrate fbrklift/bobcat machines and have
                                                                          not receivecJ training as required by the
 ll#:ffp'oyees

                            cl]RTIFlcAfloN:'the                  employer is required to submit cerlification of
 ftlf,ytNT                                                                                                       abatemenr for
 NOTE: Failure to comply will result in an additional
                                                      penalty of $1,000,00                                              as per 29     cFR lg03.lg
 Date By Which Violarion Musr
                         I'rurL be
                   --           uv Abated:
                                   ^..6'LsLr'                                                                                                    0810612013
 P.oposed eenatty:
                                                                                                                                                  $2000.00




Sec ptSes   i   thrtrugh 4 ofthis Citation and Noti{ication of
                                                               Penalty for information on cnrploy.er and ernployec
                                                                                                                   righrs and rcsponsihilities
Citation and Noriilclrion ol l)cnaltr,
                                                                            Page 9 ul' I2
                                                                                                                                          OSIIA.2
                Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 11 of 13




    U.S. Department of Labor                                              lnspection Number: 9145 I 6
    Occupational Safety and l{ealth Adrninistration lnspec(ion
                                                               Date(s): 06/2512013 - 0.il0312013
                                                    lssuance Date: 07ll 1/2013




  Company Name: B H & B Construction,
                                         Inc.
  Inspection Site: I Bruckner Blvd., Rronx, Ny                                10471
                               .f_a:


  Citation        I   Itern    5         lipe   of Violation:   Serious
  29 cFR 1910'178(m)(3): Unauthorized personnel
                                                      shall not be permitted to ride on powerecr
  trucks. A safb place to ride shail be p.ovided                                                 industrial
                                                 where                            ,idid;i
                                                                 ilcks is authorized:
 On or about 612812013, Close Ave

 a) Two employees were obsened riding
                                      on the forks of thc fork                                       Iift truck.
 ABATEMENT CERTIFICATIoN: Because
                                              abatement of this violation is already documented
 inspection file' the employer does not need                                                    in the
                                             to submit ..rtin.otion or documentation of
 this violation us normally required by 29                                               abatement  for
                                           CFR 1903.19

 Date By Which Violarion Must be Abated:
                                                                                                             Corrected During Inspection
 Proposed Penalty:
                                                                                                                               $2800.00




                                                                                                              Diana Cortez
                                                                                                              Area Director




sec pages   I through 4 oftfris citarion and r-otification olPenalty lirr
                                                                          intbrrnation on ernproyer and employec rights and rcsponsibiritics
Citation tnd Notifi catton ot' penaltr
                                                                         I'tgc l0 ol   12
                                                                                                                                         0SIIA-2
               Case 1:19-cv-06835-GBD Document 1-2 Filed 07/23/19 Page 12 of 13




    U.S. Department of                 Labor
    Occ upati onal Safet_v and Hea lth Adm
                                                     i   n   i   strati on
    660 White ptains Rd
   4th Floor
   'lhrr1.town,     Ny    10591
   Phone: 914-524-7 Sl          0      Fax: gt4-524_7 5t         5




                                                      INVOICE /
                                               DEBT COLLECTION NOTICE


 Company Name:                         B H & B Construction, fnc.
 Inspection Site:                      1431 Bruckner Blvd., Bronx, Ny 10471
 lssuance Date:                     07nt/2013


 Summary of Penalties for Inspection Number
                                                                                                   91   45I 6
 Citation      1, Serious
                                                                                                  $9200.00
 TOTAI, PROPOSED PINALTIES
                                                                                                  $9200.00


 ]b avoid additional charges, pleas.e remit payment promptly
                                                              to this Area office for the total amount of
 uncontested penalties summarized above                                                                   the
                                           .'Make you.
 indicate oSHA's rnspcction Number (indicated
                                                                                .t..[
                                                             or. *on"y order payable to: ,.DoL-osHA,,, please
                                                 above) on the remittance .

osl-lA does ttot agree to any restrictions or conditiorls
                                                          or endorsements put on any check or rnoney
        full amount due, and will cash the check or money                                                  order for        less
                                                               orde. a, if tliese restrictions or conditions do
*11-:nt                                                                                                         not

lf a personal check is issued, it rvitl be converted into
                                                            an electronic fund transfer (EFT). This means
bank will copy your check and use the account                                                               that our
                                                    information on it to electronically debit your account
amount of the check' The debit fiom your account                                                             for the
                                                        will then usually occur within 24 horirs and will be
your regular account statement. You will not                                                                  shown on
                                                 reccive you. originai'"r',ect back. The bant< witt
original check' but will keep a copy of it. Il the                                                   destroy your
                                                    EFT cann_ot ui .o,npt.t.a
                                                                          r      because of insufficient funds or closed
account, the bank will attempt to make the
                                              transfer up to 2 times.

Pursuant to the Debt collection Act of 1982 (Public
                                                     Law 91-365)and regulatrions of the U.S. Department
Labor (29 cFR Part 20), the occupationat sarety                                                              of
                                                  and Health aaminlrtration is requircd to assess
delinquent charges, and administrative costs forlhe                                                interest,
                                                    collection of delinquent penalty dcbts for violations
Occupational Safefy and Health Act.                                                                        of the


Interest: Interest charges will be assessed at an annual
                                                         rate determined by the Secretary olthe'lreasury
                                                                                                         on all

Citation and Notilicatron ol'penalrr
                                                                             I'agc   ll ol   l2
                                                                                                                o:itt,\-2
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   penalty debt amounts not paid within
                                            one month (30 carendar days) of the date
   becomes due and pavable (penalry                                                      on rvhich the debt amount
                                         due au*i rrr.'.rrrent inter;;;.i. i,
   from the date on which the penutty                                             on" percent (1%). Interesr wir accrue
                                         u,no-,,-,,t, (as proposed
                                                                                become
   Saletv and Health Revierv com,nirrio,,                          ". "a;rrr"oi your u nnuiora'.. of the occupational
                                                      i1*".1i.,g';;il;.
                                                       ir,
   Notification of Penaltv), ,nless you file fir,rt                                  receipt of rhe ciration and
                                               o ,o,i.. of contest]lnllr"ri .rrurg.s rvill
   orved i.s paid within 3it.calendaridry,                                                 be waivcd if rhe full amount
                                           "i;il;;nalorder,
   Delinquent charses: A debt is considered
                                                  delinquent if it has not been paid rvithin
   days) of the penalty clue date or if a                                                    one month (30 calendar
                                          satisfaca,y.pry,,r"nt arrangemerrt has not
   delinquent for more than 90 calerrd",                                               been  made. If the debt remains
   accruing frorn the date that the debt
                                           Jur;, ;l"tinqr"nt        .h;,;;";i;j; percent (6%) perarnum rvi, be assessed
                                         became delinquent.

  Administrative Costs'lF"'"]:t of the Departrnent
                                                       of Labor are required t. assess additional
  recovery of delinque,t debts' These                                                                 charges for the
                                      additional charges o.. ua,.,inirtiativ^e costs
                                                                                     incurrecl by the Agency in its
                              debt' Adrninistrative coits rvill u. ,".r.*a
  :ffiI?li:::#:t;lr''o                                                       tor dtemand r.tt*,".'r.nt in an atempt
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   Diana Cortez
                                                                                         Date
   Area Director




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